
ADDEN, P.
I dissented from the major-it3r of the court in the cáse of Parramore v. Taylor, and agreed with Judge Daniel in the opinion given by him in Sturdivant v. Birchett, 10 Gratt. 67. Upon the question decided in Parramore v. Taylor, I have seen no reason to change my opinion. But that case was fully argued and carefully considered. The decision was made by a majority of the whole court, and a motion for a rehearing was overruled. The same question has been again argued in this case, and with the same result. I must therefore consider it as settling the law on that question in future cases. Upon the other question presented in this case, whether an acknowledgment of the signature is a sufficient acknowledgment of the will under our statute, I concur in the opinion of the majority.
DEE and SAMUEUS, Js., concurred in the opinion of Moncure, J.
DANIED, J., dissented.
Judgment affirmed.
